Case 9:23-cr-80101-AMC Document 21 Entered on FLSD Docket 06/16/2023 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          Case No.: 23-80101-CR-CANNON/REINHART

  UNITED STATES OF AMERICA

  v.

  DONALD J. TRUMP and
  WALTINE NAUTA,

         Defendants.
                                        /

                                   NOTICE OF COMPLIANCE

         Christopher M. Kise of the law firm Continental PLLC and Todd Blanche of the Blanche

  Law Firm (collectively “Counsel”) file this Notice of Compliance pursuant to the Court’s Paperless

  Order entered June 15, 2023 (the “Order”), which requires “all attorneys of record and forthcoming

  attorneys of record [to] contact the Litigation Security Group of the U.S. Department of Justice . .

  . to expedite the necessary clearance process for all team members anticipated to participate in this

  matter, and thereafter file a Notice of Compliance no later than June 20, 2023.” (ECF No. 20).

         This Notice is to certify that Counsel has contacted the Litigation Security Group of the

  U.S. Department of Justice for the purpose of obtaining the necessary security clearance for team

  members anticipated to participate in this matter in compliance with the Order.

        Date: June 16, 2023                            Respectfully submitted,
  s/ Todd Blanche                                      s/ Christopher M. Kise
  Todd Blanche                                         Christopher M. Kise
  Admitted Pro Hac Vice                                Florida Bar No. 855545
  toddblanche@blanchelaw.com                           ckise@continentalpllc.com
  BLANCHE LAW FIRM                                     CONTINENTAL PLLC
  99 Wall Street, Suite 4460                           255 Alhambra Circle, Suite 640
  New York, New York, 10005                            Coral Gables, Florida, 33134
  (212) 716-1250                                       (305) 677-2707
  Counsel for President Donald J. Trump                Counsel for President Donald J. Trump


                                         CONTINENTAL PLLC
                                 Miami – Tallahassee – Washington D.C.
